     CASE 0:05-cr-00282-MJD-JJG       Doc. 146    Filed 10/17/05    Page 1 of 2




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                   Plaintiff,


v.                                     ORDER
                                       Criminal File No. 05-282 (MJD/JJG)

(1) CHRISTOPHER WILLIAM SMITH,

(2) PHILIP MACH,

               Defendants.
________________________________________________________________

     IT IS HEREBY ORDERED that:

     1.    The Government shall disclose all Rule 16 material on or before
           February 13, 2006.

     2.    Pretrial motions shall be filed on or before April 10, 2006.

     3.    Opposition to motions shall be filed on or before April 17, 2006.

     4.    Reply memoranda shall be filed on or before April 19, 2006.

     5.    Oral argument will be heard on May 1, 2006, at 9:00 a.m. before the
           undersigned judge, in Courtroom 14E, United States Courthouse, 300
           South Fourth Street, Minneapolis, Minnesota. If an evidentiary
           hearing is required, it will be held at the same time and place.

     6.    Jury instructions, voir dire, Rule 404(b) disclosures, and expert
           witness disclosures shall be filed by September 18, 2006.

     7.    The pretrial conference will be held before the undersigned judge on
           September 22, 2006.
     CASE 0:05-cr-00282-MJD-JJG       Doc. 146    Filed 10/17/05   Page 2 of 2




     8.    Trial is set to begin on October 2, 2006.




Dated: October 14, 2005                      s/ Michael J. Davis
                                             Judge Michael J. Davis
                                             United States District Court
